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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   CASE NO: 2:22-CR-0071-TOR
 8                             Plaintiff,
                                                   ORDER ACCEPTING GUILTY PLEA
 9          v.                                     AND SETTING SENTENCING
                                                   SCHEDULE
10    DAVID NABIEL AKHDARY,
      aka Nabiel David Akhdary,
11
                               Defendant.
12
           On September 29, 2022, David Nabiel Akhdary appeared before the Court
13
     and entered a plea of guilty to the Indictment filed on June 22, 2021, charging him
14
     with Possession with Intent to Distribute 40 Grams of Fentanyl, in violation of 21
15
     U.S.C. § 841(a)(1), (b)(1)(B)(vi). The Defendant was represented by Bryan
16
     Whitaker. Timothy J. Ohms appeared for Patrick Cashman on behalf of the
17
     government.
18
           The Court finds that Defendant is fully competent and capable of entering an
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     informed plea, that the Defendant is aware of the nature of the charges and
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 1   consequences of the plea and the plea of guilty is knowing, and voluntary, is not

 2   induced by fear, coercion, or ignorance and is supported by an independent basis in

 3   fact establishing each of the essential elements of the crime. Therefore, the

 4   Defendant’s plea of guilty is accepted. However, the Court reserves on ruling on

 5   the binding nature of the plea agreement until the time of sentencing.

 6         ACCORDINGLY, IT IS HEREBY ORDERED:

 7         1. A sentencing hearing is set for January 4, 2023, at 10:00 a.m. in

 8   Spokane Courtroom 902. Absent truly exigent circumstances, the Court will not

 9   consider a request for a continuance of sentencing unless: (1) the request is made

10   by written motion, (2) in accordance with LCivR 7, and (3) the motion and

11   supporting declaration are filed at least seven (7) days before the scheduled

12   sentencing hearing.

13         2. The Defendant shall remain in the custody of the U.S. Marshal's Service

14   pursuant to the detention order previously entered in this matter. ECF No. 21. If a

15   sentence of incarceration is imposed, the Defendant shall remain in the

16   custody of the U.S. Marshal's Service.

17         3. The United States Probation Office shall prepare a Presentence

18   Investigation Report (PSIR) pursuant to Fed. R. Crim. P. 32(c).

19         4. Not later than November 23, 2022, the probation officer shall disclose

20   the Presentence Investigation Report to the Defendant, counsel for Defendant, and

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 1   the Government. Disclosure of the Presentence Investigation Report shall be

 2   subject to the limitations imposed by Rule 32 of the Federal Rules of Criminal

 3   Procedure.

 4         5. Not later than December 7, 2022, counsel shall communicate in writing

 5   to the probation office (and opposing counsel) any objections they may have as to

 6   legal and factual errors or omissions; sentencing classifications; sentencing

 7   guideline ranges; and policy statements contained in or omitted from the report. If

 8   an objection is filed, the probation officer shall conduct such additional

 9   investigation as is necessary to assess the merits of the objection.

10         6. The probation officer shall submit the final Presentence Investigation

11   Report to the Court by December 21, 2022. The report shall be accompanied by

12   an addendum setting forth any objections counsel may have made, including those

13   that have not been resolved, together with the officer’s comments and

14   recommendations thereon.

15         7. Not later than December 21, 2022, counsel shall file and serve all

16   motions and memoranda pertaining to Defendant's sentence, including departures

17   and variances, and sentencing recommendations. FAILURE TO FILE AND

18   SERVE SENTENCING MATERIAL, TO INCLUDE MOTIONS OR

19   MEMORANDA FOR UPWARD OR DOWNWARD DEPARTURE AND

20

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 1   VARIANCES, BY THIS DATE WILL BE DEEMED A WAIVER OF THE

 2   RIGHT TO DO SO.

 3         8. Not later than December 28, 2022, the opposing party shall file and serve

 4   its response limited to no more than seven (7) pages.

 5         9. If either party intends to call witnesses or proffer exhibits at sentencing,

 6   witness and exhibit lists must be exchanged by the parties and provided to the

 7   Court no later December 28, 2022.

 8         10. All pending motions are DENIED as moot and all pending hearing and

 9   trial dates are stricken from the Court’s calendar.

10         11. The District Court Executive is authorized to accept Defendant's $100

11   payment which shall be applied to the Special Penalty Assessment.

12         IT IS SO ORDERED. The District Court Clerk is hereby directed to enter

13   this Order and provide copies to counsel, the United States Probation Office, and

14   the United States Marshal’s Service.

15         DATED September 29, 2022.

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17                                   THOMAS O. RICE
                                  United States District Judge
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     SCHEDULE ~ 4
